   Case 3:18-cv-01094-JBA-PWH-JMW Document 75 Filed 04/14/20 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

 NAACP, et al.,
                                                          No. 3:18-cv-01094-JBA-PWH-JMW
        Plaintiffs,

                v.

 DENISE MERRILL, SECRETARY OF THE                         April 14, 2020
 STATE, and EDWARD LAMONT, JR.,
 GOVERNOR,

        Defendants.




                          JOINT STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties hereby stipulate to the dismissal of

the above-captioned action without cost to any party.



Dated: April 14, 2020




                                                1
    Case 3:18-cv-01094-JBA-PWH-JMW Document 75 Filed 04/14/20 Page 2 of 3



/s/ Michael J. Wishnie                         /s/ Michael K. Skold
Nicole Billington, Law Student Intern          Michael K. Skold (ct28407)
Doni Bloomfield, Law Student Intern            Maura Murphy Osborne (ct19987)
Alexander Boudreau, Law Student Intern         Office of the Attorney General
Camila Bustos, Law Student Intern              55 Elm Street
Alaa Chaker, Law Student Intern                P.O. Box 120
Wynne Graham, Law Student Intern               Hartford, CT 06141-0120
Katherine Hamilton, Law Student Intern         Tel: (860) 808-5020
Austin Reagan, Law Student Intern              Fax: (860) 808-5347
Soren Schmidt, Law Student Intern              Email: Michael.Skold@ct.gov
Mary Ella Simmons, Law Student Intern
Hope Metcalf (ct27184)                         Counsel for Defendants
Michael J. Wishnie (ct27221)
Peter Gruber Rule of Law Clinic
Yale Law School
127 Wall Street
New Haven, CT 06511
(203) 436-478
michael.wishnie@ylsclinics.org

David N. Rosen (ct00196)
David Rosen & Associates, P.C.
400 Orange Street
New Haven, CT 06511
(203) 787-3513
drosen@davidrosenlaw.com

Bradford M. Berry*
National Association for the Advancement
  of Colored People, Inc.
Office of General Counsel
4805 Mount Hope Drive
Baltimore, MD 21215
(410) 580-5797
bberry@naacpnet.org

Counsel for Plaintiffs
*
 Motion for admission pro hac vice
forthcoming




                                           2
   Case 3:18-cv-01094-JBA-PWH-JMW Document 75 Filed 04/14/20 Page 3 of 3



                                CERTIFICATION OF SERVICE

        I hereby certify that on April 14, 2020, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s CM/ECF system.



                                                    /s/ Michael J. Wishnie
                                                    Michael J. Wishnie, No. ct27221
                                                    Peter Gruber Rule of Law Clinic
                                                    Yale Law School




                                                   3
